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                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Richard W. Esterkin, SBN 70769
                     2   richard.esterkin@morganlewis.com
                         300 S Grand Ave Fl 22
                     3   Los Angeles CA 90071-3132
                         Tel: (213) 612-2500
                     4   Fax: (213) 612-2501

                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                UNITED STATES BANKRUPTCY COURT
                     9                                 CENTRAL DISTRICT OF CALIFORNIA
                    10                                           LOS ANGELES DIVISION
                    11

                    12   In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                     (Jointly Administered with
                    13            SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB)
                    14                                                               Chapter 11
                                         Debtors and Debtors in
                    15                   Possession.             NOTICE OF HEARING ON AMAZON
                                                                 LOGISTICS, INC.’S MOTION FOR A
                    16   _______________________________________ PROTECTIVE ORDER QUASHING
                                                                 DOCUMENT REQUESTS AND
                    17   Affects:                                DEPOSITION NOTICES PROPOUNDED
                         ■ All Debtors                           BY HILLAIR CAPITAL
                    18   □ Scoobeez, ONLY                        MANAGEMENT, LLC
                         □ Scoobeez Global, Inc., ONLY
                    19   □ Scoobur LLC, ONLY                     Date:    November 4, 2019
                                                                 Time:    2:00 p.m.
                    20                                           Dept.:   United States Bankruptcy Court
                                                                          Edward Roybal Federal Building
                    21                                                    255 E Temple St., Ctrm 1375
                                                                          Los Angeles CA 90012
                    22
                                                                                     Judge: The Hon. Julia W. Brand
                    23

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                         1
                             The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27       Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                             Foothill Boulevard, in Glendale, California 91214.
                    28                                                           -1-                NOTICE OF HEARING RE AMAZON’S
MORGAN, LEWIS &                                                                                      MOTION FOR PROTECTIVE ORDER
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    QUASHING DISCOVERY REQUESTS
   COSTA MESA                                                                                               PROPOUNDED BY HILLAIR
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                     1          TO THE PARTIES HERETO AND TO THEIR ATTORNEYS OF RECORD:

                     2          Please take notice that, pursuant to the Court’s Order Granting Application and Setting

                     3   Hearing on Shortened Notice entered November 1, 2019 (Docket No. 407), a copy of which is

                     4   attached hereto as Exhibit 1 (the “OST”), the hearing on Amazon Logistics, Inc.’s Motion for a

                     5   Protective Order Quashing Document Requests and Deposition Notices Propounded by Hillair

                     6   Capital Management, LLC (Docket No. 405) (the “Motion”), will take place on November 4,

                     7   2019, at 2:00 p.m., or as soon thereafter as the matter may be heard, at the United States

                     8   Bankruptcy Court, Edward Roybal Federal Building, 255 East Temple Street, in Courtroom 1375,

                     9   in Los Angeles, California 90012.
                    10          Pursuant to the provisions of the OST, opposition to the Motion may be presented at the

                    11   hearing on the Motion.

                    12   Dated: November 1, 2019                            MORGAN, LEWIS & BOCKIUS LLP
                    13

                    14                                                      By:    /s/ Richard W. Esterkin
                                                                                       Richard W. Esterkin
                    15
                                                                                      Attorneys for Amazon Logistics, Inc.
                    16

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                    20

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                    28                                                   -2-             NOTICE OF HEARING RE AMAZON’S
MORGAN, LEWIS &                                                                           MOTION FOR PROTECTIVE ORDER
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                         QUASHING DISCOVERY REQUESTS
   COSTA MESA                                                                                    PROPOUNDED BY HILLAIR
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                           EXHIBIT 1

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    Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
    Nos., State Bar No. & Email Address

    Richard W. Esterkin, SBN 70769
    MORGAN, LEWIS & BOCKIUS LLP                                                                             FILED & ENTERED
    300 S Grand Ave Fl 22
    Los Angeles CA 90071-3132
    Tel: (213) 612-2500                                                                                             NOV 01 2019
    Fax: (213) 612-2501
    richard.esterkin@morganlewis.com
                                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                              Central District of California
                                                                                                              BY kaaumoanDEPUTY CLERK




        Individual appearing without attorney
       Attorney for: Amazon Logistics, Inc.

                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:19-bk-14989-WB                       (Jointly Administered with
                                                                                                                                 2:19-bk-14991-WB, and
              SCOOBEEZ, et al.,1                                                CHAPTER: 11                                      2:19-bk-14997-WB)


                  Debtors and Debtors in Possession.                            ORDER:
    _______________________________________
    Affects:                                                                           GRANTING APPLICATION AND SETTING
    ■ All Debtors                                                                      HEARING ON SHORTENED NOTICE
    □ Scoobeez, ONLY
    □ Scoobeez Global, Inc., ONLY
                                                                                       DENYING APPLICATION FOR ORDER
    □ Scoobur LLC, ONLY                                                                SETTING HEARING ON SHORTENED
                                                                                       NOTICE
                                                                 Debtor(s).                     [LBR 9075-1(b)]

    Movant (name): Amazon Logistics, Inc.



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

      a. Title of motion: Amazon Logistics, Ins.’s Motion for a Protective Order

      b. Date of filing of motion: 10/31/2019

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

       Date of filing of Application: 10/31/2019

3. Based upon the court’s review of the application, it is ordered that:

      a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

      b.         The Application is granted, and it is further ordered that:
1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.
             This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                       Exhibit 1 - page 4                        F 9075-1.1.ORDER.SHORT.NOTICE
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        (1)         A hearing on the motion will take place as follows:


                Hearing date: 11/04/19                      Place:
                Time: 2:00 PM                                   255 East Temple Street, Los Angeles, CA 90012
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 1375
                                                                3420 Twelfth Street, Riverside, CA 92501
                                                                411 West Fourth Street, Santa Ana, CA 92701
                                                                1415 State Street, Santa Barbara, CA 93101

        (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                    persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date: 11/01/19
                                                          All parties entitled to notice
                Time: 12:00 PM

                                                                See attached page
                                                       (C) Telephonic notice is also required upon the United States trustee


        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:      one of the methods checked          all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date: 11/01/19

                Time: 12:00 PM                            All parties entitled to notice



                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                  Exhibit 1 - page 5                        F 9075-1.1.ORDER.SHORT.NOTICE
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        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: 11/01/19                         documents:

                    Time: 12:00 PM                      All parties entitled to service



                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date:                                  -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                  Exhibit 1 - page 6                        F 9075-1.1.ORDER.SHORT.NOTICE
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                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                 Date:                                     -- All persons/entities who filed a written opposition

                 Time:



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date: 11/01/19                     Time: 2:00 PM



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: November 1, 2019




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                  Exhibit 1 - page 7                        F 9075-1.1.ORDER.SHORT.NOTICE
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                              1

                              2
                                                                CERTIFICATE         OF SERVICE FORM
                              3
                                                                    FOR ELECTRONIC         FILINGS
                              4
                                          I hereby certify that on November 1,2019, I electronically filed the foregoing document,
                              5
                                  Notice of Hearing on Amazon Logistics, Inc.'s Motion for a Protective Order Quashing
                              6
                                  Document Requests and Deposition Notices Propounded By Hillair Capital Management,
                              7
                                  LLC, with the Clerk of the United States Bankruptcy Court, Central District of California, Los
                              8
                                  Angeles Division, using the CMlECF system, which will send notification of such filing to those
                              9
                                  parties registered to receive notice on this matter.
                          10

                          11
                                                                                  Renee Robles
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                                                                                                 NOTICE OF HEARING RE AMAZON'S
MORGAN,        LEWIS      &                                                                        MOTION FOR PROTECTIVE ORDER
  BocKJUSLLP
  A TIQRNEYS   AT   LAW                                                                           QUASHING DISCOVERY REQUESTS
     COSTA MrsA
                                                                                                         PROPOUNDED BY HILLAIR
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius LLP
 300 S Grand Ave FI 22
 Los Angeles CA 90071-3132
A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 A Protective Order Quashing Document Requests and Deposition Notices Propounded by Hillair Capital
 Managment, LLC
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 11/01/2019 ,I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Service List, attached.



                                                                                      ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/01/2019 ,I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Conway MacKenzie, Inc.               Daimler Trust                             Levene Neale Bender Yoo & Brill LLP
333 SHope St Ste 3625                c/o BK Servicing LLC                      10250 Constellation Blvd Ste 1700
Los Angeles CA 90071                 PO Box 131265                             Los Angeles CA 90067
                                     Roseville MN 55113-0011
                                                                                      D     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/01/2019 ,I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St
Los Angeles CA 90012

                                                                                      o Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  11/01/2019       Renee Robles                                                            ~~
 Date                     Printed Name                                                          Signature


         This form is mandatory.   It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                                              F 9013-1.1.HEARING.NOTICE

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Richard T Baum on behalf of Stockholder Rosenthal Family Trust
rickbaum@hotmail.com, rickbaum@ecfinforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
shenderson@gibbsgiden.com

Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov

David Brian Lally on behalf of Attorney Grigori Sedrakyan
davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

Ashley M McDow on behalf of Debtor Scoobeez

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.

amcdow@foley.com,
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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

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amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc.
kmorse@clarkhill.com, blambert@clarkhill.com

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Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
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Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com
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Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
hrafatjoo@raineslaw.com,
bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

2:19-bk-14989-WB Notice will not be electronically mailed to:


Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067
